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                         10
                                                        UNITED STATES DISTRICT COURT
                         11                            CENTRAL DISTRICT OF CALIFORNIA
                         12                                  SOUTHERN DIVISION
                         13
                                                                            )   CASE NO. SACV12 – 1448 AG
                         14 WILLIAM WILBER et al.,                          )   (JPRX)
                         15                                                 )
                         16              Plaintiffs,                        )
                                    v.                                      )   ORDER TO DISMISS
                         17
                                                                            )   METAQUOTES SOFTWARE
                         18 TOP GLOBAL CAPITAL, INC. et al.                 )   CORP WITH PREJUDICE
                         19                                                 )
                         20              Defendants.                        )
                                                                            )   Judge: Hon. Andrew J Guilford
                         21                                                 )
                         22                                                 )
                         23
                         24
                                      The Court finds that all Plaintiffs and Defendant MetaQuotes
                         25
                         26 (“MetaQuotes”) (collectively “the Parties”) have stipulated in good faith as to the
                         27
                                circumstances surrounding their Settlement and Request for Dismissal.
                         28

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                                         ORDER TO DISMISS METAQUOTES SOFTWARE CORP WITH PREJUDICE

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                            1          IT IS HEREBY ORDERED as follows:
                            2
                                       1.      The Parties have settled the above entitled matter, as reflected in the
                            3
                            4 terms of the Settlement Agreement and Mutual Release.
                            5
                            6
                                       2.     The terms of the Settlement Agreement and Mutual Release, which
                            7 are attached as Exhibit A1-A10 to the Stipulation of the Parties, are incorporated
                            8
                            9 into this Order as though such terms are fully set forth herein .
                         10
                                        4.    As more particularly set forth in the Settlement Agreement and
                         11
                         12 Mutual Release, paragraph 12, the Protective Order between the Parties continues
                         13
                                in effect. See Exhibit A1-A10 to the Stipulation of the Parties.
                         14
                         15            5.     The Jurisdiction of the Federal District Court, Central District of
                         16
                                California, is reserved to enforce the terms of the Settlement Agreement and
                         17
                         18 Mutual Release, which is attached to the Stipulation for Dismissal as Exhibit A1-
                         19
                         20
                                A10.
                         21            6.     Subject to the reservation of this Court to enforce the terms of the
                         22
                         23 Settlement Agreement and Mutual Release, MetaQuotes Software Corp is
                         24
                                dismissed from the above entitled matter with prejudice.
                         25
                         26
                         27
                                DATED: February 02, 2016
                                                                         ____________________________________
                         28                                              Hon. Andrew J Guilford

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                                            ORDER TO DISMISS METAQUOTES SOFTWARE CORP WITH PREJUDICE

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